      Case: 1:21-cv-04818 Document #: 3 Filed: 09/10/21 Page 1 of 63 PageID #:6




                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 MONICA K. SHERESHOVECH,
 individually, and on behalf of all persons
 similarly situated,

        Plaintiffs,                                 Case No.   21-cv-4818

 v.

 TRESSLER LLP, a limited liability
 partnership, and

 ASSOCIATIONREADY, LLC d/b/a
 “ReadyCOLLECT,”

        Defendants.


 NOTICE OF REMOVAL OF CIVIL ACTION TO THE UNITED STATES DISTRICT
  COURT FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

       Pursuant to 28 U.S.C. §§ 1331, 1441, and 1446, Defendant AssociationReady, LLC—with

consent of all other Defendants—hereby removes to this Court the state-court action described

below (“Removed Case”).

                                    THE REMOVED CASE

       1.      The Removed Case is a civil action pending in the Circuit Court of Cook County,

Illinois, County Department, Chancery Division, which Plaintiff Monica K. Shereshovech initiated

by filing a complaint on August 4, 2021 (Case No. 2021CH03824).

                           PAPERS FROM THE REMOVED CASE

       2.      As required by 28 U.S.C. § 1446(a), attached are copies of all process, pleadings,

and orders served upon AssociationReady in the Removed case. See Exhibit A.




                                                1
      Case: 1:21-cv-04818 Document #: 3 Filed: 09/10/21 Page 2 of 63 PageID #:7




                                    REMOVAL IS TIMELY

       3.      On August 16, 2021, Association Ready acknowledged and agreed to waive

service. See Exhibit B.

       4.      This Notice of Removal is filed within 30 days of the service date and is therefore

timely under 28 U.S.C. § 1446(b).

                                              VENUE

       5.      Removal to the United States District Court for the Northern District of Illinois is

appropriate pursuant to 28 U.S.C. § 1441(a) because the Northern District of Illinois is the federal

judicial district and division embracing the Circuit Court of Cook County, Illinois, County

Department, Chancery Division.

                             THIS COURT HAS JURISDICTION

       6.      The Removed Case is a civil action within the Court’s original jurisdiction under

28 U.S.C. § 1331, which states, “[t]he district courts shall have original jurisdiction of all civil

actions arising under the Constitution, laws, or treaties of the United States.”

       7.      Pursuant to 28 U.S.C. § 1441(a), “any civil action brought in a State court of which

the district courts of the United States have original jurisdiction, may be removed by the defendant

or the defendants, to the district court of the United States for the district and division embracing

the place where such action is pending.”

       8.       The Removed Case is thus within the Court’s original jurisdiction and properly

removed to this Court because the Removed Case brings claims under the Fair Debt Collection

Practice Act (“FDCPA”), 15 U.S.C. § 1962 et seq.



                                                  2
      Case: 1:21-cv-04818 Document #: 3 Filed: 09/10/21 Page 3 of 63 PageID #:8




       9.      Further, the Removed Case falls within the Court’s jurisdiction for the reasons

explained in Keller et al v. Northstar Location Services LLC, wherein Judge Coleman denied a

motion to remand FDCPA claims brought under 15 U.S.C. §§ 1962c(b). See Exhibit C. As in

Keller et al v. Northstar Location Services LLC, Plaintiff in the Removed Case relies on 15 U.S.C.

§§ 1962c(b) and similar allegations of harm.

       10.     If any question arises as to the propriety of the removal of this action,

AssociationReady requests the opportunity to brief any disputed issues and to present oral

argument to show why removal is appropriate.

                              FILING OF REMOVAL PAPERS

       11.     Pursuant to 28 U.S.C. § 1446(d), concurrent with the filing of this Notice of

Removal, AssociationReady is serving this Notice of Removal on Shereshovech’s counsel of

record and filing a copy of the Notice of Removal with the Circuit Court of Cook County, Illinois,

County Department, Chancery Division. See Exhibit D.

       WHEREFORE, AssociationReady hereby removes the above-captioned action from the

Circuit Court of Cook County, Illinois, County Department, Chancery Division, and requests that

further proceedings be conducted in this Court as provided by law.




                                                3
     Case: 1:21-cv-04818 Document #: 3 Filed: 09/10/21 Page 4 of 63 PageID #:9




Dated: September 10, 2021                                AssociationReady, LLC

                                                         By: ____________________

                                                         Attorneys for
                                                         AssociationReady, LLC
Martin R. Martos II
321 N. Clark St. | Suite 1600
Chicago, IL 60654
Tel: 312.517.9200
Fax: 312.517.9201
MMartos@FoxRothschild.com


John C. Hawk (pro hac vice application forthcoming)
1225 17th St.
Suite 2200
Denver, CO 80202
Tel: 303.383.7691
Fax: 303.292.1300.
JHawk@foxrothschild.com




                                             4
     Case: 1:21-cv-04818 Document #: 3 Filed: 09/10/21 Page 5 of 63 PageID #:10




                               CERTIFICATE OF SERVICE

       Martin Martos, an attorney, hereby certifies on September 10, 2021, he caused a copy of

the foregoing Notice of Removal to be served via email and U.S. mail on the following:


 Arthur Czaja                                   Michael Bruck
 LAW OFFICE OF ARTHUR CZAJA                     1 East Wacker Drive, Suite 2350
 7521 N. Milwaukee Ave.                         Chicago, IL 60601
 Niles, Illinois 60714                          Tel: 312.258.9400
 (847) 647-2106                                 Fax: 312.258.9444
 arthur@czajalawoffices.com                     mcb@spellmirebruck.com
 Attorney No. 47671
                                                Counsel for Defendant Tressler LLP
 Brian Wanca
 ANDERSON + WANCA
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 bwanca@andersonwanca.com
 Attorney No. 57010

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Joseph S. Davidson
LAW OFFICES OF JOSEPH P. DOYLE
LLC
105 South Roselle Road, Suite 203
Schaumburg, Illinois 60193
(847) 985-1100
jdavidson@fightbills.com
Attorney No. 65455

Counsel for Plaintiff and the Putative Class
Members



                                                                      ____________________
Case: 1:21-cv-04818 Document #: 3 Filed: 09/10/21 Page 6 of 63 PageID #:11




                          EXHIBIT A
                                            Case:
                      Hearing Date: 12/3/2021      1:21-cv-04818
                                                 10:00 AM - 10:00 AMDocument                              #: 3 Filed: 09/10/21 Page 7 of 63 PageID #:12
                      Courtroom Number: 2405
                      Location: District 1 Court
                              Cook County, IL                                                                                                                   FILED
                                                                                                                                                                8/4/2021 4:47 PM
                                                                                                                                                                IRIS Y. MARTINEZ
                                                                                                                                                                CIRCUIT CLERK
                                                                                                                                                                COOK COUNTY, IL
FILED DATE: 8/4/2021 4:47 PM 2021CH03824




                                                                                                                                                                2021CH03824

                                                                                                                                                                14313793
                                           Chancery Division Civil Cover Sheet
                                           General Chancery Section                                                                                              (12/01/20) CCCH 0623

                                                                                      IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                                                                                         COUNTY DEPARTMENT, CHANCERY DIVISION

                                           Monica K. Shereshovech
                                                                                                         Plaintiff              2021CH03824
                                                                                 v.                                  Case No:
                                           Tressler LLP and AssociationReady, LLC
                                                                                                        Defendant

                                                                                          CHANCERY DIVISION CIVIL COVER SHEET
                                                                                              GENERAL CHANCERY SECTION
                                           $&KDQFHU\'LYLVLRQ&LYLO&RYHU6KHHW*HQHUDO&KDQFHU\6HFWLRQVKDOOEHÀOHGZLWKWKHLQLWLDOFRPSODLQWLQDOODFWLRQVÀOHGLQWKH*HQHUDO
                                           &KDQFHU\6HFWLRQRI &KDQFHU\'LYLVLRQ7KHLQIRUPDWLRQFRQWDLQHGKHUHLQLVIRUDGPLQLVWUDWLYHSXUSRVHVRQO\3OHDVHFKHFNWKHER[LQ
                                           IURQWRI WKHDSSURSULDWHFDWHJRU\ZKLFKEHVWFKDUDFWHUL]HV\RXUDFWLRQEHLQJÀOHG
                                           Only one (1) case type may be checked with this cover sheet.
                                           0005         $GPLQLVWUDWLYH5HYLHZ                                       0017        0DQGDPXV
                                           0001    ✔     Class Action                                                0018        1H([HDW
                                           0002         'HFODUDWRU\-XGJPHQW                                        0019         Partition
                                           0004         ,QMXQFWLRQ                                                  0020        4XLHW7LWOH
                                                                                                                     0021        4XR:DUUDQWR
                                           0007          General Chancery                                            0022        5HGHPSWLRQ5LJKWV
                                           0010         $FFRXQWLQJ                                                  0023        5HIRUPDWLRQRI D&RQWUDFW
                                           0011          Arbitration                                                 0024        5HVFLVVLRQRI D&RQWUDFW
                                           0012          Certiorari                                                  0025        6SHFLÀF3HUIRUPDQFH
                                           0013         'LVVROXWLRQRI &RUSRUDWLRQ                                 0026        7UXVW&RQVWUXFWLRQ
                                           0014         'LVVROXWLRQRI 3DUWQHUVKLS                                 0050        ,QWHUQHW7DNH'RZQ$FWLRQ &RPSURPLVLQJ,PDJHV
                                           0015         (TXLWDEOH/LHQ
                                           0016         ,QWHUSOHDGHU                                                             2WKHU VSHFLI\  ____________________________

                                                         47671
                                              Atty. No.: ________________                Pro Se 99500
                                                                                                                     Pro Se Only:       ,KDYHUHDGDQGDJUHHWRWKHWHUPVRI WKH&OHUN·V
                                           $WW\1DPH Arthur C. Czaja                                                                   &OHUN·V2IÀFH(OHFWURQLF1RWLFH3ROLF\DQG
                                                                                                                                         FKRRVHWRRSWLQWRHOHFWURQLFQRWLFHIURPWKH
                                           Atty. for: Plaintiff                                                                          &OHUN·VRIÀFHIRUWKLVFDVHDWWKLVHPDLODGGUHVV
                                           Address: 7521 N. Milwaukee Ave.
                                                                                                                     (PDLO
                                                 Niles
                                           City: ____________________________        IL
                                                                              State: ____
                                                 60714
                                           =LS ________
                                                       847-647-2106
                                           7HOHSKRQH ________________________

                                           3ULPDU\(PDLO arthur@czajalawoffices.com
                                                                              Iris Y. Martinez, Clerk of the Circuit Court of Cook County, Illinois
                                                                                                   cookcountyclerkofcourt.org
                                                                                                              Page 1 of 1
                                            Case:
                      Hearing Date: 12/3/2021      1:21-cv-04818
                                                 10:00 AM - 10:00 AMDocument   #: 3 Filed: 09/10/21 Page 8 of 63 PageID #:13
                      Courtroom Number: 2405
                      Location: District 1 Court
                              Cook County, IL                                                                       FILED
                                                                                                                    8/4/2021 4:47 PM
                                                                                                                    IRIS Y. MARTINEZ
                                                                                                                    CIRCUIT CLERK
                                                                                                                    COOK COUNTY, IL
FILED DATE: 8/4/2021 4:47 PM 2021CH03824




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                                           Case: 1:21-cv-04818 Document #: 3 Filed: 09/10/21 Page 9 of 63 PageID #:14
FILED DATE: 8/4/2021 4:47 PM 2021CH03824




                                                                                            8/4/2021 4:47 PM IRIS Y. MARTINEZ
                                           Case: 1:21-cv-04818 Document #: 3 Filed: 09/10/21 Page 10 of 63 PageID #:15
FILED DATE: 8/4/2021 4:47 PM 2021CH03824
                                           Case:10:00
                      Hearing Date: 12/3/2021    1:21-cv-04818    Document
                                                      AM - 10:00 AM                   #: 3 Filed: 09/10/21 Page 11 of 63 PageID #:16
                      Courtroom Number: 2405
                      Location: District 1 Court
                              Cook County, IL                                                                                    FILED
                                                                                                                                 8/5/2021 10:45 AM
                                                               IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS                     IRIS Y. MARTINEZ
                                                                                                                                 CIRCUIT CLERK
                                                                  COUNTY DEPARTMENT – CHANCERY DIVISION
                                                                                                                                 COOK COUNTY, IL
FILED DATE: 8/5/2021 10:45 AM 2021CH03824




                                                                                                                                 2021CH03824
                                            MONIKA K. SHERESHOVECH,
                                            individually, and on behalf of all others                                            14320374
                                            similarly situated,                                   Case No. 2021-CH-03824

                                                  Plaintiff,                                      Calendar 7

                                            v.

                                            TRESSLER LLP and
                                            ASSOCIATIONREADY, LLC

                                                  Defendants.

                                                                                   NOTICE OF FILING

                                            To:       Tressler LLP, a/k/a Tressler Corporate Services, Inc., c/o Mark T. Banovetz, Registered
                                                      Agent, 550 W. Boughton Rd., #250, Bolingbrook, IL 60440

                                                      AssociationReady, LLC, c/o Jordan Forman, Registered Agent, 999 Peachtree Street NE,
                                                      Atlanta, GA 30309


                                                  PLEASE TAKE NOTICE that on August 5, 2021, the Plaintiff, Monika K,
                                            Shereshovech, by and through her attorneys, Arthur C. Czaja, Anderson + Wanca, Payton Legal
                                            Group, and Joseph S. Davidson, electronically filed and served the Clerk of the Circuit Court of
                                            Cook County, Illinois the PLAINTIFF’S MOTION TO CLASS CERIFICATION, a copy of
                                            which is attached hereto and hereby served upon you.

                                            /s/ Arthur Czaja
                                            Arthur Czaja
                                            LAW OFFICE OF ARTHUR CZAJA
                                            7521 N. Milwaukee Ave.
                                            Niles, Illinois 60714
                                            (847) 647-2106
                                            arthur@czajalawoffices.com
                                            Attorney No. 47671

                                            Brian Wanca
                                            Anderson + Wanca
                                            3701 Algonquin Road, Suite 500
                                            Rolling Meadows, IL 60008
                                            (847) 3688-1500
                                            bwanca@andersonwanca.com
                                                                                         Page 1 of 2
                                                Case: 1:21-cv-04818 Document #: 3 Filed: 09/10/21 Page 12 of 63 PageID #:17




                                            Attorney No. 57010

                                            Rusty A. Payton
FILED DATE: 8/5/2021 10:45 AM 2021CH03824




                                            Payton Legal Group, LLC
                                            20 North Clark Street
                                            Suite 3300
                                            Chicago, Illinois 60602
                                            (773) 682-5210
                                            info@payton.legal
                                            Attorney No. 39459

                                            Joseph S. Davidson
                                            Law Offices of Joseph P. Doyle LLC
                                            105 South Roselle Road, Suite 203
                                            Schaumburg, Illinois 60193
                                            (847) 985-1100
                                            jdavidson@fightbills.com
                                            Attorney No: 65455


                                                                          CERTIFICATE OF SERVICE

                                                   The undersigned, an attorney, certifies that on August 5, 2021 he caused a true and
                                            correct copy of this Notice and the enclosed PLAINTIFF’S MOTION TO CLASS
                                            CERIFICATION to be served upon the party(ies) listed above, by attaching a copy of this
                                            Notice and enclosed PLAINTIFF’S MOTION TO CLASS CERIFICATION by postage
                                            prepaid first-class mail to the parties identified above at the mailing addresses identified
                                            hereinabove from 7521 N. Milwaukee Ave., Niles, IL 60714.

                                            /s/ Arthur Czaja
                                            Arthur Czaja
                                            LAW OFFICE OF ARTHUR CZAJA
                                            7521 N. Milwaukee Ave.
                                            Niles, Illinois 60714
                                            (847) 647-2106
                                            arthur@czajalawoffices.com
                                            Attorney No. 47671




                                                                                    Page 2 of 2
                                           Case:10:00
                      Hearing Date: 12/3/2021    1:21-cv-04818    Document
                                                      AM - 10:00 AM                    #: 3 Filed: 09/10/21 Page 13 of 63 PageID #:18
                      Courtroom Number: 2405
                      Location: District 1 Court
                              Cook County, IL                                                                                     FILED
                                                                                                                                  8/5/2021 10:45 AM
                                                              IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS                       IRIS Y. MARTINEZ
                                                                                                                                  CIRCUIT CLERK
                                                                 COUNTY DEPARTMENT – CHANCERY DIVISION
                                                                                                                                  COOK COUNTY, IL
FILED DATE: 8/5/2021 10:45 AM 2021CH03824




                                                                                                                                  2021CH03824
                                            MONIKA K. SHERESHOVECH,
                                            individually, and on behalf of all others                                             14320374
                                            similarly situated,                                    Case No. 2021-CH-03824

                                                 Plaintiff,                                        Calendar 7

                                            v.

                                            TRESSLER LLP and
                                            ASSOCIATIONREADY, LLC

                                                 Defendants.

                                                                        MOTION FOR CLASS CERTIFICATION

                                                     Plaintiff, MONIKA K. SHERESHOVECH, individually, and on behalf of all others

                                            similarly situated, through undersigned counsel, pursuant to 735 ILCS 5/2-801 et seq., moving

                                            the Court order Count I of this action, alleging violation of Fair Debt Collection Practices Act, 15

                                            U.S.C. §1692 et seq. (“FDCPA”), to proceed on class basis against Defendants, TRESSLER

                                            LLP, and ASSOCIATIONREADY, LLC (collectively, the "Defendants"), as follows:

                                                              § 1692c(b) Class: All natural persons residing in the State of Illinois (a)
                                                              whose personal information was communicated by Tressler LLP to
                                                              AssociationREADY, LLC; (b) within the one (1) year preceding the date of
                                                              this complaint through the date of class certification; and (c) in
                                                              connection with the collection of a consumer debt.

                                                              § 1692c(b) Class: All natural persons residing in the State of Illinois (a)
                                                              whose personal information was communicated by AssociationREADY,
                                                              LLC to OSG f/k/a SouthData; (b) within the one (1) year preceding the
                                                              date of this complaint through the date of class certification; and (c) in
                                                              connection with the collection of a consumer debt.

                                                     The following individuals are excluded from the Putative Class: (1) any Judge presiding

                                            over this action and members of their families; (2) Defendants, Defendants’ subsidiaries, parents,

                                                                                               1
                                                  Case: 1:21-cv-04818 Document #: 3 Filed: 09/10/21 Page 14 of 63 PageID #:19




                                            successors, predecessors, and any entity in which Defendants or their parents have a controlling

                                            interest and their current or former employees, officers and directors; (3) Plaintiff’s attorneys; (4)
FILED DATE: 8/5/2021 10:45 AM 2021CH03824




                                            persons who properly execute and file a timely request for exclusion from the Putative Class; (5)

                                            the legal representatives, successors or assigns of any such executed persons; and (6) persons

                                            whose claims against Defendants have been fully and finally adjudicated and/or released.

                                                     In support thereof, Plaintiff states as follows:

                                                                                       FACTUAL ALLEGATIONS

                                                     1.        MONIKA K. SHERESHOVECH (“Plaintiff”) is a natural person, over 18-years-

                                            of-age, who at all times relevant resided at 668 Weidner Road, Unit 2C, Buffalo Grove, Illinois

                                            60089.

                                                     2.        Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).

                                                     3.        TRESSLER LLP (“Tressler”) is a limited liability partnership organized and

                                            existing under the laws of the state of Illinois.

                                                     4.        Tressler represents hundreds of associations throughout the Chicago Metropolitan

                                            area. They have extensive experience servicing the needs of associations in a wide variety of

                                            contexts including: collection of delinquent assessments, counseling property managers and

                                            board of directors/managers regarding Illinois law and governing documents, review and

                                            negotiation of contracts, financing and loan documentation, property licenses, declaration and

                                            bylaw amendments, rule enforcement, violations and challenges, construction disputes,

                                            discrimination claims, legal updates and opinions.1 (emphasis added).

                                                     5.        Tressler regularly collects or attempts to collect, directly or indirectly, debts owed

                                            or due or asserted to be owed or due another.
                                            1
                                                 https://www.tresslerllp.com/practice-areas/practice-areas-details/practice-details/other-practice-areas/condominium-common-
                                            interest-community-association-law (last accessed August 4, 2021).
                                                                                                           2
                                                  Case: 1:21-cv-04818 Document #: 3 Filed: 09/10/21 Page 15 of 63 PageID #:20




                                                     6.        Accordingly, Tressler is a “debt collector” as defined by 15 U.S.C. § 1692a(6).

                                                     7.        ASSOCIATIONREADY, LLC (“AssociationREADY”) is a limited liability
FILED DATE: 8/5/2021 10:45 AM 2021CH03824




                                            company organized and existing under the laws of the state of Georgia.

                                                     8.        AssociationREADY is a web services company facilitating the consolidation and

                                            distribution of information for managed communities across the United States.

                                                     9.        ReadyCOLLECT by AssociationREADY is a secure, web-based application that

                                            automates many of the repetitive tasks that are part of association collections.2

                                                     10.       RC2, powered by ReadyCOLLECT, brings the attorney, association manager, and

                                            community board member together by revolutionizing the process of collecting delinquent

                                            community association assessments, and covenant violations.

                                                     11.       AssociationREADY regularly collects or attempts to collect, directly or indirectly,

                                            debts owed or due or asserted to be owed or due another.

                                                     12.       Accordingly, AssociationREADY is a “debt collector” as defined by 15 U.S.C. §

                                            1692a(6).

                                                     13.       Tressler utilizes ReadyCOLLECT.3


                                            2
                                                The ReadyCOLLECT Solution.

                                            Consolidate, organize & streamline your collections and covenant violation processes. Our use of technology and streamlining
                                            efficiencies are crucial to stay ahead of competition. AssociationREADY is eager to help get your firm to the top. We have
                                            developed a powerful online system that is proven, reliable and easy to use and surprisingly affordable.

                                            https://www.associationready.com/readycollect.asp (last accessed August 4, 2021).

                                            3
                                                HOA and Condominium Collections

                                            ReadyCOLLECT – Collections Online Portal

                                            We understand that there are many parties involved with the assessment collection process including Association Board
                                            Members, Association Management Companies, and Attorneys. That is why we utilize the state of the art online portal called
                                            ReadyCOLLECT to help consolidate, organize and streamline assessment collections and fines associated with violations.
                                            ReadyCOLLECT provides 24/7 web portal access to Association Board Members and Association Management Companies to
                                            access detailed, up-to-date information regarding the status of your collection accounts. Beyond providing information,
                                            ReadyCOLLECT provides accountability and transparency for Association Board Members and Association Management
                                                                                                          3
                                                  Case: 1:21-cv-04818 Document #: 3 Filed: 09/10/21 Page 16 of 63 PageID #:21




                                                      14.       Plaintiff purchased a condominium unit in Buffalo Grove, Illinois.

                                                      15.       The condominium was subject to a Declaration made pursuant to the Illinois
FILED DATE: 8/5/2021 10:45 AM 2021CH03824




                                            Condominium Property Act, Ill.Ann.Stat. ch. 30, para. 301-331, that obligated Plaintiff to pay

                                            assessments levied by Manor Homes of Chatham Condominium III Association for payment of

                                            common expenses.

                                                      16.       Plaintiff failed to pay the monthly installments levied by Manor Homes of

                                            Chatham Condominium III Association.

                                                      17.       Tressler, on behalf of Manor Homes of Chatham Condominium III Association,

                                            caused Notice and Demand for Possession, dated September 17, 2020, to be sent to Plaintiff.

                                                      18.       Rather than mailing this Notice and Demand for Possession itself, Tressler sent it

                                            to ReadyCOLLECT to be deposited in U.S. mail by SouthData.4

                                                      19.       Tressler communicated to AssociationREADY certain information about Plaintiff,

                                            including: (1) Plaintiff's name and address; (2) that Plaintiff owed debt; (3) the entity to whom

                                            Plaintiff owed a debt; (4) Plaintiff's exact balance; (5) that Plaintiff's debt is in default; and (6)

                                            that Plaintiff's debt is being collected by a debt collector.

                                                      20.       Likewise, AssociationREADY communicated to SouthData certain information

                                            about Plaintiff, including: (1) Plaintiff's name and address; (2) that Plaintiff owed debt; (3) the

                                            entity to whom Plaintiff owed a debt; (4) Plaintiff's exact balance; (5) that Plaintiff's debt is in

                                            default; and (6) that Plaintiff's debt is being collected by a debt collector.




                                            Companies.       https://www.tresslerllp.com/practice-areas/practice-areas-details/practice-details/other-practice-areas/collections
                                            (last accessed August 4, 2021) (emphasis added).

                                            4
                                               "Over the last 25 years, [SouthData] has evolved, redefining their capabilities to expand from a revenue-focused print and
                                            mail company to a global provider of leading customer engagement and payment solutions." https://www.southdata.com/ (last
                                            accessed August 4, 2021).
                                                                                                             4
                                                Case: 1:21-cv-04818 Document #: 3 Filed: 09/10/21 Page 17 of 63 PageID #:22




                                                    21.     Upon information and belief, the information was commingled in database(es) of

                                            information    maintained     by      AssociationREADY     on    behalf   of   other   clients   using
FILED DATE: 8/5/2021 10:45 AM 2021CH03824




                                            ReadyCOLLECT.

                                                    22.     In other words, upon information and belief, AssociationREADY did not maintain

                                            separate databases for its clients.

                                                                                    NATURE OF CLAIMS

                                                    23.     Section 1692c provides:

                                                            (b) Communication with third parties. Except as provided in section
                                                            1692b of this title, without the prior consent of the consumer given
                                                            directly to the debt collector, or the express permission of a court of
                                                            competent jurisdiction, or as reasonably necessary to effectuate a
                                                            postjudgment judicial remedy, a debt collector may not communicate, in
                                                            connection with the collection of any debt, with any person other than the
                                                            consumer, his attorney, a consumer reporting agency if otherwise
                                                            permitted by law, the creditor, the attorney of the creditor, or the attorney
                                                            of the debt collector.

                                                    24.     Tressler's transmittal of Plaintiff's information to AssociationREADY constitutes

                                            a “communication” as defined by 15 U.S.C. § 1692a(2).

                                                    25.     AssociationREADY's transmittal of Plaintiff's information to SouthData

                                            constitutes a “communication” as defined by 15 U.S.C. § 1692a(2).

                                                    26.     Tressler's communication with AssociationREADY was in connection with the

                                            collection of Plaintiff's delinquent association dues

                                                    27.     Specifically, Tressler's communication with AssociationREADY included

                                            specific details regarding Plaintiff's debt: (1) Plaintiff's status as a debtor; (2) the precise amount

                                            of Plaintiff's debt; (3) the entity to which Plaintiff’s debt was owed, inter alia, violating 15

                                            U.S.C. §1692c(b).



                                                                                              5
                                                Case: 1:21-cv-04818 Document #: 3 Filed: 09/10/21 Page 18 of 63 PageID #:23




                                                   28.     AssociationREADY's communication with SouthData was in connection with the

                                            collection of Plaintiff's delinquent association dues
FILED DATE: 8/5/2021 10:45 AM 2021CH03824




                                                   29.     Specifically, AssociationREADY's communication with SouthData included

                                            specific details regarding Plaintiff's debt: (1) Plaintiff's status as a debtor; (2) the precise amount

                                            of Plaintiff's debt; (3) the entity to which Plaintiff’s debt was owed, inter alia, violating 15

                                            U.S.C. §1692c(b).

                                                                THE FAIR DEBT COLLECTION PRACTICES ACT

                                                   30.     The FDCPA was enacted in part “to eliminate abusive debt collection practices by

                                            debt collectors . . . .” 15 U.S.C. § 1692(e). The statute is designed to protect consumers from

                                            unscrupulous collectors, regardless of the validity of the debt. Mace v. Van Ru Credit Corp., 109

                                            F.3d 338, 341 (7th Cir. 1997) citing Baker v. G.C. Servs. Corp., 677 F.2d 775, 777 (9th Cir.

                                            1982). The FDCPA broadly prohibits: (1) unfair or unconscionable collection methods, (2)

                                            conduct which harasses, oppresses, or abuses any debtor, and (3) any false, deceptive, or

                                            misleading statements in connection with the collection of a debt. 15 U.S.C. § 1692d-f.

                                                   31.     In enacting the FDCPA, Congress recognized the “universal agreement among

                                            scholars, law enforcement officials, and even debt collectors that the number of persons who

                                            willfully refuse to pay just debts is minuscule.... [The] vast majority of consumers who obtain

                                            credit fully intend to repay their debts. When default occurs, it is nearly always due to an

                                            unforeseen event such as unemployment, overextension, serious illness, or marital difficulties or

                                            divorce.” 95 S.Rep. 382, at 3 (1977), reprinted in 1977 U.S.C.C.A.N. 1695, 1697.

                                                   32.     The FDCPA’s legislative intent emphasizes the need to construe the statute

                                            broadly, so that we may protect consumers against debt collectors’ harassing conduct. This intent

                                            cannot be underestimated. Ramirez v. Apex Fin. Mgmt., LLC, 567 F.Supp.2d 1035, 1042 (N.D.
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                                                Case: 1:21-cv-04818 Document #: 3 Filed: 09/10/21 Page 19 of 63 PageID #:24




                                            Ill. 2008); see also Sonmore v. CheckRite Recovery Services, Inc., 187 F.Supp.2d 1128, 1132 (D.

                                            Minn. 2001) (“The FDCPA is a remedial strict liability statute which was intended to be applied
FILED DATE: 8/5/2021 10:45 AM 2021CH03824




                                            in a liberal manner;” Picht v. Hawks, 77 F. Supp. 2d 1041, 1043 (D. Minn. 1999), aff'd, 236 F.3d

                                            446 (8th Cir. 2001). “Proof of deception or actual damages is not necessary to make a recovery

                                            under the FDCPA.” Id.); Owens v. Hellmuth & Johnson PLLC, 550 F.Supp.2d 1060, 1063 (D.

                                            Minn. 2008) (same); and Rosenau v. Unifund Corp., 539 F.3d 218, 221 (3d Cir. 2008) (“[the

                                            FDCPA] is a remedial statute that we ‘construe . . . broadly, so as to effect its purpose.’”).

                                                   33.     “Congress intended the Act to be enforced primarily by consumers....” FTC v.

                                            Shaffner, 626 F.2d 32, 35 (7th Cir. 1980). Further, the legislative history shows that Congress

                                            clearly intended that private enforcement actions would be the primary enforcement tool of the

                                            Act. See 123 Cong. Rec. 28112-13 (1977) (remarks of Rep. Annunzio); 1977 U.S. Code Cong. &

                                            Adm. News, supra at 1700.

                                                   34.     Plaintiff is seeking statutory damages, a penalty that does not depend on proof

                                            that the recipient of the letter was misled. E.g., Tolentino v. Friedman, 46 F.3d 645, 651 (7th Cir.

                                            1995); Harper v. Better Business Services, Inc., 961 F.2d 1561, 1563 (11th Cir. 1992); Clomon v.

                                            Jackson, 988 F.2d 1314, 1322 (2d Cir. 1993); Baker v. G.C. Services Corp., 677 F.2d 775, 780-

                                            81 (9th Cir. 1982). All that is required is proof that the statute was violated, although even then it

                                            is within the court’s discretion to decide whether and if so, how much to award, up to the $ 1,000

                                            ceiling. E.g., Tolentino, supra, 46 F.3d at 651; Clomon, supra, 988 F.2d at 1322.

                                                                 REQUIREMENTS FOR CLASS CERTIFICATION

                                                   35.     Section 2-801 of the Illinois Code of Civil Procedure, 735 ILCS 5/2-801,

                                                           provides:

                                                           Prerequisites for the maintenance of a class action. An action may be
                                                           maintained as a class action in any court of this State and a party may sue
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                                                Case: 1:21-cv-04818 Document #: 3 Filed: 09/10/21 Page 20 of 63 PageID #:25




                                                           or be sued as a representative party of the class only if the court finds:

                                                                    (1)   The class is so numerous that joinder of all members is
FILED DATE: 8/5/2021 10:45 AM 2021CH03824




                                                                          impracticable.

                                                                    (2)   There are questions of fact or law common to the class,
                                                                          which common questions predominate over any questions
                                                                          affecting only individual members.

                                                                    (3)   The representative parties will fairly and adequately protect
                                                                          the interest of the class.

                                                                    (4)   The class action is an appropriate method for the fair and
                                                                          efficient adjudication of the controversy.

                                                   37.     The 1977 Illinois statute was modeled after Rule 23 of the Federal Rules of Civil

                                            Procedure, which governs class certification in the Federal courts. See Fed. R. Civ. P. 23.

                                                   38.     As soon as practicable after the commencement of an action brought as a class

                                            action, the court shall determine by order whether it may be so maintained and describe those

                                            whom the court finds to be members of the class. This order may be conditional and may be

                                            amended before a decision on the merits. 735 ILCS 5/2-802. Certification of a class is within

                                            the sound discretion of the trial court. Haywood v. Superior Bank F.S.B., 244 Ill.App.3d 326,

                                            328 (1st Dist. 1993).

                                                   39.     In a large and impersonal society, class actions are often the last barricade of

                                            consumer protection. Generally, individual plaintiffs cannot, will not and ought not be required

                                            to pursue what would often be trivial relief. Hoover v. May Dep’t Stores Co., 62 Ill. App. 3d

                                            106, 378 N.E.2d 762 (1978) cites a particularly compelling statement with regard to the

                                            philosophy to be considered in determining the basis for class certification:

                                                           “‘To consumerists, the consumer class action is an inviting procedural
                                                           device to cope with frauds causing small damages to large groups. The
                                                           slight loss to the individual, when aggregated in the coffers of the
                                                           wrongdoer, results in gains which are both handsome and tempting. The
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                                                Case: 1:21-cv-04818 Document #: 3 Filed: 09/10/21 Page 21 of 63 PageID #:26




                                                            alternatives to the class action -- private suits or governmental actions --
                                                            have been so often found wanting in controlling consumer frauds that
                                                            not even the ardent critics of class actions seriously contend that they are
FILED DATE: 8/5/2021 10:45 AM 2021CH03824




                                                            truly effective. The consumer class action, when brought by those who
                                                            have no other avenue of legal redress, provides restitution to the injured,
                                                            and deterrence of the wrongdoer.’”
                                            Hoover, 62 Ill. App. 3d at 112, quoting Landers, Of Legalized Blackmail & Legalized Theft:

                                            Consumer Class Actions & the Substance-Procedure Dilemma, 47 So. Cal. L. Rev. 842, 845

                                            (1974).

                                                      40.   Congress expressly recognized the propriety of a class action under the FDCPA

                                            by providing special damage provisions and criteria in 15 U.S.C. §§1692k(a) and (b) for FDCPA

                                            class action cases. As a result, numerous FDCPA class actions have been certified. Phillips v.

                                            Asset Acceptance, LLC, 736 F.3d 1076 (7th Cir. 2013); McMahon v. LVNV Funding, LLC, 807

                                            F.3d 872 (7th Cir. 2015); Vines v. Sands, 188 F.R.D. 302 (N.D. IL 1999); Nielsen v. Dickerson,

                                            1999 WL 350649, 1999 U.S. Dist. LEXIS 8334 (N.D. Ill. 1999); Sledge v. Sands, 182 F.R.D.

                                            255 (N.D. Ill. 1998); Shaver v. Trauner, 1998 WL 35333712, 1998 U.S. Dist. LEXIS 19647

                                            (C.D. Ill. 1998) report and recommendation adopted, 1998 WL 35333713, 1998 U.S. Dist.

                                            LEXIS 19648 (C.D. Ill. 1998); Carroll v. United Compucred Collections, Inc., 2002 WL

                                            31936511, 2002 U.S. Dist. LEXIS 25032 (M.D. Tenn. 2002), report and recommendation

                                            adopted in part, 2003 WL 1903266, 2003 U.S. Dist. LEXIS 5996 (M.D. Tenn. 2003) aff'd, 399

                                            F.3d 620 (6th Cir. 2005); Wahl v. Midland Credit Mgmt., Inc., 243 F.R.D. 291 (N.D. Ill. 2007);

                                            Keele v. Wexler, 1996 WL 124452, 1996 U.S. Dist. LEXIS 3253 (N.D. Ill. 1996), aff'd, 149 F.3d

                                            589 (7th Cir. 1998); Miller v. Wexler & Wexler, 1998 WL 60798, 1998 U.S. Dist. LEXIS 1382

                                            (N.D. Ill 1998); Wilborn v. Dun & Bradstreet, 180 F.R.D. 347 (N.D. Ill. 1998); Arango v. GC

                                            Servs., LP, 1998 WL 325257, 1998 U.S. Dist. LEXIS 9124 (N.D. Ill. 1998); Avila v. Van Ru

                                            Credit Corp., 1995 WL 41425, 1995 U.S. Dist. LEXIS 461 (N.D. Ill. 1995), aff’d sub nom. Avila

                                            v. Rubin, 84 F.3d 222 (7th Cir. 1996); Ramirez v. Palisades Collection LLC, 250 F.R.D. 366
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                                                Case: 1:21-cv-04818 Document #: 3 Filed: 09/10/21 Page 22 of 63 PageID #:27




                                            (N.D. Ill. 2008); Cotton v. Asset Acceptance, 2008 WL 2561103, 2008 U.S. Dist. LEXIS 49042

                                            (N.D. Ill. 2008); Gammon v. GC Services, L.P., 162 F.R.D. 313 (N.D. Ill. 1995); Zanni v.
FILED DATE: 8/5/2021 10:45 AM 2021CH03824




                                            Lippold, 119 F.R.D. 32, 35 (C.D. Ill. 1988); Brewer v. Friedman, 152 F.R.D. 142 (N.D. Ill.

                                            1993) earlier opinion, 833 F. Supp. 697 (N.D. Ill. 1993).

                                                   41.     As shown below, each requirement of certification can be met.

                                                                                        Numerosity

                                                   42.     Because the language of section 2 – 801(1) is taken verbatim from Federal Rule

                                            of Civil Procedure 23(a)(1), federal case law may be considered as exegetic in deciding whether

                                            the class is so numerous that joinder is impracticable under the Illinois statute. Ill. Ann. Stat., ch.

                                            110, par. 2 -- 801, Historical & Practice Notes, at 90 (Smith-Hurd 1983). Federal cases establish

                                            no bright line. There is no “magic number” below which there cannot be a class, but above

                                            which there can. The number of class members is relevant, not determinative. DeMarco v.

                                            Edens 390 F.2d 836 (2d Cir. 1968).

                                                   43.     Case law further dictates that “[w]here the number of class members is at best

                                            fairly small, courts require demonstration of additional reasons why joinder is impracticable.”

                                            Wood River Area Dev. Corp. v. Germania Federal Sav. & Loan Ass’n, 198 Ill.App.3d 445, 450

                                            (5th Dist. 1990).     These additional factors include: (1) the class members’ geographical

                                            distribution; (2) the ability to identify and locate the class members; (3) the degree of knowledge

                                            and sophistication of the class members and their need for protection; (4) the amount of the

                                            claims of the individual class members; and (5) the nature of the cause of action. Id. at 451

                                                   44.     The fact that the size of the proposed class has not been exactly determined is not

                                            a fatal defect in the motion; a class action may proceed upon estimates as to the size of the

                                            proposed class. Kendler v. Federated Department Stores, Inc., 88 F.R.D. 688 (S.D.N.Y. 1981);

                                            Hedges Enterprises, Inc. v. Continental Group, Inc., 81 F.R.D. 461 (E.D. Pa. 1979); Amswiss

                                            International Corp. v. Heublein, Inc., 69 F.R.D. 663 (N.D. Ga. 1975).) “The court may assume
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                                                Case: 1:21-cv-04818 Document #: 3 Filed: 09/10/21 Page 23 of 63 PageID #:28




                                            sufficient numerousness where reasonable to do so in absence of a contrary showing by

                                            defendant, since discovery is not essential to most cases in order to reach a class determination…
FILED DATE: 8/5/2021 10:45 AM 2021CH03824




                                            Where the exact size of the class is unknown, but it is general knowledge or common sense that

                                            it is large, the court will take judicial notice of this fact and will assume joinder is

                                            impracticable.” 2 Newberg on Class Actions (3d ed. 1995), §7.22.

                                                   45.     The exact number of members of the Putative Class are unknown and not

                                            available to Plaintiff at this time. Members of the Putative Class can be objectively identified

                                            from records of Defendants to be gained in discovery. However, Plaintiff alleges, more than 40

                                            members of the Putative Class exist; therefore, numerosity is satisfied. See Miller, An Overview

                                            of Federal Class Actions: Past, Present, and Future, Federal Judicial Center, at 22 (1977) (“If

                                            the class has more than forty people in it, numerosity is satisfied; if the class has less than

                                            twenty-five people in it, numerosity probably is lacking; if the class has between twenty-five and

                                            forty, there is no automatic rule and other factors, *** become relevant.”).

                                                                  Predominance of common questions of law or fact

                                                   46.     A common question may be shown when the claims of the individual members of

                                            the class are based on the common application of a statute or they were aggrieved by the same or

                                            similar misconduct. McCarthy v. La Salle Nat'l Bank & Trust Co., 230 Ill. App. 3d 628, 634, 595

                                            N.E.2d 149, 153 (1st Dist. 1992).

                                                   47.     Here, Plaintiff alleges that the common questions are whether:

                                                           A.      Tressler violated 15 U.S.C. § 1692c(b) when they communicated

                                                                   consumers’ information to AssociationREADY.

                                                           B.      AssociationREADY violated 15 U.S.C.             § 1692c(b) when they

                                                                   communicated consumers’ information to SouthData.

                                                           C.      Measure of damages.


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                                                Case: 1:21-cv-04818 Document #: 3 Filed: 09/10/21 Page 24 of 63 PageID #:29




                                                   48.     Where a question of law refers to a standardized conduct of the defendants

                                            toward members of the proposed class, a common nucleus of operative facts is typically
FILED DATE: 8/5/2021 10:45 AM 2021CH03824




                                            presented, and the commonality requirement of Rule 23(a)(2) is usually met.            Franklin v.

                                            Chicago, 102 F.R.D. 944, 949 (N.D. Ill. 1984).

                                                   49.     The only individual issue is the identification of the class members, a matter

                                            capable of ministerial determination from Defendants’ records. Questions readily answerable

                                            from defendants’ files do not present an obstacle to class certification. Heastie v. Community

                                            Bank, 125 F.R.D. 669 (N.D. Ill. 1989) (court found that common issues predominated where

                                            individual questions of injury and damages could be determined by “merely comparing the

                                            contract between the consumer and the contractor with the contract between the consumer and

                                            Community Bank”).

                                                                              Adequacy of representation

                                                   50.     The rule also requires that the named plaintiff provide fair and adequate

                                            protection for the interests of the class. That protection involves two factors: (a) the plaintiff's

                                            attorney must be qualified, experienced, and generally able to conduct the proposed litigation;

                                            and (b) the plaintiff must not have interests antagonistic to those of the class. Rosario v.

                                            Livaditis, 963 F.2d 1013, 1018 (7th Cir. 1992); accord, Wetzel v. Liberty Mutual Ins. Co., 508

                                            F.2d 239, 247 (3d Cir. 1975); In re Alcoholic Beverages Litigation, 95 F.R.D. 321.

                                                   51.     Plaintiff understands the obligations of a class representative and has retained

                                            experienced counsel with substantial experience in consumer law.

                                                   52.     The second relevant consideration is whether the interests of Plaintiff are

                                            coincident with the general interests of the class members. Here, Plaintiff and members of the

                                            Putative Class seek money damages as the result of Defendants' unlawful collection practices,

                                            provided for by 15 U.S.C. § 1692k. Given the identity of claims between Plaintiff and the class

                                            members, there is no potential for conflicting interests in this action. There is no antagonism
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                                                Case: 1:21-cv-04818 Document #: 3 Filed: 09/10/21 Page 25 of 63 PageID #:30




                                            between the interests of Plaintiff and those of the class.

                                                                     Class action is an appropriate method for the
FILED DATE: 8/5/2021 10:45 AM 2021CH03824




                                                                   fair and efficient adjudication of this controversy

                                                   53.     Efficiency is the primary focus in determining whether the class action is the

                                            superior method for resolving the controversy presented. Eovaldi v. First Nat’l Bank, 57 F.R.D.

                                            545 (N.D. Ill. 1972). The Court is required to determine the best available method for resolving

                                            the controversy in keeping with judicial integrity, convenience, and economy. Scholes v. Stone,

                                            McGuire & Benjamin, 143 F.R.D. 181, 189 (N.D. Ill. 1992); Hurwitz v. R.B. Jones Corp., 76

                                            F.R.D. 149 (W.D.Mo. 1977). It is proper for a court, in deciding the “best” available method, to

                                            consider the “. . . inability of the poor or uninformed to enforce their rights, and the

                                            improbability that large numbers of class members would possess the initiative to litigate

                                            individually.” Haynes v. Logan Furniture Mart, Inc., 503 F.2d 1161, 1165 (7th Cir. 1974).

                                                   54.     In this case there is no better method available for the adjudication of the claims

                                            which might be brought by each individual debtor. Individual cases are not economically

                                            feasible. The special efficacy of the consumer class action has been noted by the courts and is

                                            applicable to this case.

                                                                   A class action permits a large group of claimants to have their
                                                                   claims adjudicated in a single lawsuit. This is particularly
                                                                   important where, as here, a large number of small and medium
                                                                   sized claimants may be involved. In light of the awesome costs of
                                                                   discovery and trial, many of them would not be able to secure
                                                                   relief if class certification were denied….

                                            In re Folding Carton Antitrust Lit., 75 F.R.D. 727, 732 (N.D. Ill. 1977).

                                                                   Given the relatively small amount recoverable by each potential
                                                                   litigant, it is unlikely that, absent the class action mechanism, any
                                                                   one individual would pursue his claim, or even be able to retain an
                                                                   attorney willing to bring the action. As Professors Wright, Miller
                                                                   and Kane have discussed, in analyzing consumer protection class
                                                                   actions such as the instant one, ‘typically the individual claims are
                                                                   for small amounts, which means that the injured parties would not
                                                                   be able to bear the significant litigation expenses involved in suing
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                                                Case: 1:21-cv-04818 Document #: 3 Filed: 09/10/21 Page 26 of 63 PageID #:31




                                                                  a large corporation on an individual basis. These financial barriers
                                                                  may be overcome by permitting the suit to be brought by one or
                                                                  more consumers on behalf of others who are similarly situated.’ 7B
FILED DATE: 8/5/2021 10:45 AM 2021CH03824




                                                                  Wright et al., §1778, at 59; see e.g., Phillips Petroleum Co. v.
                                                                  Shutts, 472 U.S. 797, 809 (1985) (‘Class actions...may permit the
                                                                  plaintiff to pool claims which would be uneconomical to litigate
                                                                  individually.’) The public interest in seeing that the rights of
                                                                  consumers are vindicated favors the disposition of the instant
                                                                  claims in a class action form.

                                            Lake v. First Nationwide Bank, 156 F.R.D. 615 at 628, 629 (E.D. Pa 1994).

                                                   55.     Class certification will provide an efficient and appropriate resolution of the

                                            controversy. Zanni v. Lippold, 119 F.R.D. 32 (C.D. Ill. 1998).

                                                                                    CONCLUSION

                                                   WHEREFORE, for the reasons stated herein, the Court should certify Counts I and II of

                                            this action to proceed on class basis against Defendants.

                                            DATED: August 4, 2021                            Respectfully submitted,

                                                                                             MONICA K. SHERESHOVECH

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                                            Case: 1:21-cv-04818 Document #: 3 Filed: 09/10/21 Page 27 of 63 PageID #:32




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FILED DATE: 8/5/2021 10:45 AM 2021CH03824




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                                           Case:10:00
                      Hearing Date: 12/3/2021    1:21-cv-04818    Document
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                              Cook County, IL                                                                                    FILED
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                                                              IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS                      IRIS Y. MARTINEZ
                                                                                                                                 CIRCUIT CLERK
                                                                  COUNTY DEPARTMENT, CHANCERY DIVISION
                                                                                                                                 COOK COUNTY, IL
FILED DATE: 8/4/2021 4:47 PM 2021CH03824




                                                                                                                                 2021CH03824

                                           MONICA K. SHERESHOVECH,                                                               14313793
                                           individually, and on behalf of all persons
                                           similarly situated,

                                                Plaintiffs,                                        Case No. 2021CH03824

                                           v.

                                           TRESSLER LLP, a limited liability
                                           partnership, and

                                           ASSOCIATIONREADY, LLC, d/b/a
                                           “ReadyCOLLECT,”

                                                Defendants.


                                                                              CLASS ACTION COMPLAINT

                                                    Plaintiff, Monica K. Shereshovech, individually, and on behalf of all persons similarly

                                           situated, by her attorneys, for her complaint against Tressler LLP (“Tressler”) and

                                           AssociationReady, LLC (“ARL”), states:

                                                                                NATURE OF THE ACTION

                                                    1.        Tressler, a firm which regularly collects debt for others, and ARL, a provider of

                                           debt collection services, violated the Fair Debt Collection Practices Act, 15 U.S.C. §1692 et seq.

                                           (“FDCPA”), when each communicated information about debt to parties other than the

                                           consumer, the consumer's attorney, a consumer reporting agency, the creditor, the attorney of the

                                           creditor, or the attorney of the debt collector in connection with the collection of a consumer debt

                                           allegedly owed by the Plaintiff, and those identified in the putative classes described infra.




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                                               Case: 1:21-cv-04818 Document #: 3 Filed: 09/10/21 Page 29 of 63 PageID #:34




                                                  2.      The FDCPA broadly prohibits unfair or unconscionable collection methods,

                                           conduct which harasses or abuses any debtor, and the use of any false or deceptive statements in
FILED DATE: 8/4/2021 4:47 PM 2021CH03824




                                           connection with attempts to collect a debt.

                                                  3.      In enacting the FDCPA, Congress found that: “[t]here is abundant evidence of the

                                           use of abusive, deceptive, and unfair debt collection practices by many debt collectors. Abusive

                                           debt collection practices contribute to the number of personal bankruptcies, to marital instability,

                                           to the loss of jobs, and to invasions of individual privacy.” 15 U.S.C. §1692(a).

                                                  4.      Because of this, courts have held that “the FDCPA's legislative intent emphasizes

                                           the need to construe the statute broadly, so that we may protect consumers against debt

                                           collectors’ harassing conduct” and that “[t]his intent cannot be underestimated.” Ramirez v. Apex

                                           Financial Management LLC, 567 F.Supp.2d 1035, 1042 (N.D.Ill. 2008).

                                                  5.      Among other things, the FDCPA prohibits debt collectors from disclosing

                                           consumer debt information to third parties without the consumer’s consent. 15 U.S.C. §

                                           1692c(b).

                                                  6.      Lawyers are subject to FDCPA liability for their conduct when attempting to

                                           collect a consumer debt on behalf of another. Heintz v. Jenkins, 514 U.S. 291, 292-293, 115 S.

                                           Ct. 1489, 131 L. ed. 2d 395 (1995).

                                                  7.      The FDCPA encourages consumers, through counsel, to act as “private attorneys

                                           general” to enforce the public policies and protect the civil rights expressed therein. Crabill v.

                                           TransUnion, LLC, 259 F.3d 662, 666 (7th Cir. 2001).

                                                  8.      Plaintiff seeks to enforce these policies and civil rights which are expressed

                                           through the FDCPA on behalf of herself and other consumers with similar claims.




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                                                   Case: 1:21-cv-04818 Document #: 3 Filed: 09/10/21 Page 30 of 63 PageID #:35




                                                                                     JURISDICTION
FILED DATE: 8/4/2021 4:47 PM 2021CH03824




                                                     9.     Federal and state courts have concurrent jurisdiction of FDCPA actions. 15

                                           U.S.C. § 1692k(d).

                                                     10.    This Court has personal jurisdiction pursuant to 735 ILCS 5/2-209.

                                                     11.    Venue is proper pursuant to 735 ILCS 5/2-101.

                                                                                      THE PARTIES

                                                     12.    Plaintiff is a natural person, over 18-years-of-age, who at all times relevant

                                           resided in Cook County, Illinois.

                                                     13.    Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).

                                                     11.    Tressler is an Illinois limited liability partnership whose partners and employees

                                           are engaged in the practice of law in Illinois.

                                                     12.    Tressler regularly collects delinquent association assessments on behalf of

                                           condominium associations.

                                                     13.    Kathryn A. Foemeller is an attorney and partner of Tressler. Tressler publishes a

                                           website which can be found at this address: https://www.tresslerllp.com/. On a sub-page of that

                                           site,     https://www.tresslerllp.com/attorneys/attorney-details/kathryn-formeller,   Kathryn   A.

                                           Formeller states that she is Co-Chair of the Condominium & Common Interest Community

                                           Association Law practice and that her practice “includes representing condominium associations

                                           and common interest community associations in a variety of areas, including rule enforcement,

                                           interpretation of governing documents, review and negotiation of contracts, and collection of

                                           assessments.”(Emphasis added).




                                                                                             3
                                               Case: 1:21-cv-04818 Document #: 3 Filed: 09/10/21 Page 31 of 63 PageID #:36




                                                  14.     Tressler frequently sends communications and files lawsuits in Illinois in an

                                           attempt to collect delinquent condominium assessments on behalf of others.
FILED DATE: 8/4/2021 4:47 PM 2021CH03824




                                                  15.     ARL is a Georgia limited liability company, which does part of its business

                                           through a portal it brands “ReadyCOLLECT.”

                                                  16.     Tressler regularly uses ARL’s services and the ReadyCOLLECT portal.

                                                  17.     ARL publishes a website which can be found at the following address:

                                           https://www.associationready.com/ReadyCOLLECT.asp where it touts its “better way to manage

                                           the process of collecting delinquent association dues and managing covenant violations.”

                                                  18.     ReadyCOLLECT also discloses at this site that it works with law firms and others

                                           throughout the country who are engaged in the collection of debts owed to others.

                                                  19.     Tressler touts this about its own use of ARL’s ReadyCOLLECT portal on a web

                                           page titled “HOA and Condominium Collections” which it publishes to the internet:

                                                   ReadyCOLLECT - Collections Online Portal

                                                   We understand that there are many parties involved with the assessment collection
                                                   process including Association Board Members, Association Management Companies,
                                                   and Attorneys. That is why we utilize the state of the art online portal called
                                                   ReadyCOLLECT to help consolidate, organize & streamline assessment collections
                                                   and fines associated with violations. ReadyCOLLECT provides 24/7 web portal access
                                                   to Association Board Members and Association Management Companies to access
                                                   detailed, up-to-date information regarding the status of your collections accounts.
                                                   Beyond providing information, ReadyCOLLECT provides accountability and
                                                   transparency for Association Board Members and Association Management
                                                   Companies.

                                           See, https://www.tresslerllp.com/practice-areas/practice-areas-details/practice-details/other

                                           -practice-areas/collections (emphasis added).

                                                  20.     Tressler and ARL each uses postal mail, an instrumentality of interstate

                                           commerce, within Illinois and across state lines throughout the United States, for its business, the



                                                                                            4
                                               Case: 1:21-cv-04818 Document #: 3 Filed: 09/10/21 Page 32 of 63 PageID #:37




                                           principal purpose of which is the collection of debts, and/or each regularly collects or attempts to

                                           collect, directly or indirectly, debts owed or due or asserted to be owed or due another.
FILED DATE: 8/4/2021 4:47 PM 2021CH03824




                                                     21.   Tressler and ARL collect debts allegedly owed to multiple condominium

                                           associations, and others, in Illinois and throughout the United States.

                                                     22.   ARL has hundreds of clients which use its ReadyCOLLECT portal and for which

                                           ARL receives consumer debt information and processes collection communications on behalf of

                                           others.

                                                     23.   The FDCPA does not just apply to third-party debt collection firms; the statute’s

                                           broad definition of “debt collector” encompasses servicers of consumer and mortgage loans that

                                           do not acquire ownership of the underlying debt, but acquire servicing rights after the loan is in

                                           default. See 15 U.S.C. § 1692a(6)(F); Johnson v. Carrington Mortgage Servs., 638 F. App’x

                                           523, 524–25 (7th Cir. 2016) (stating that where a servicer begins servicing the mortgage loan

                                           after a default, it is a “debt collector” under the FDCPA and dismissing plaintiff’s FDCPA claim

                                           because servicer began servicing the loan while the mortgage loan was current); Schlosser v.

                                           Fairbanks Capital Corp., 323 F.3d 534, 536–37 (7th Cir. 2003) (holding that servicer was a

                                           “debt collector” where the debt was not actually in default, but the servicer acquired it as a debt

                                           in default and its collection activities were based on that understanding).

                                                     24.   Tressler is a debt collector within the meaning of 15 U.S.C. § 1692a(6).

                                                     25.   ARL is a debt collector within the meaning of 15 U.S.C. § 1692a(6).

                                                     26.   Neither ARL or SouthData is an exclusive agent or employee of Tressler; each is

                                           a third-party which provides similar services to many others.

                                                                             FACTUAL ALLEGATIONS




                                                                                            5
                                               Case: 1:21-cv-04818 Document #: 3 Filed: 09/10/21 Page 33 of 63 PageID #:38




                                                  27.     Plaintiff owns a condominium in the Manor Homes of Chatham Condominium III

                                           Association (“Association”), located at 668 Weidner Road, Buffalo Grove, Illinois, which she
FILED DATE: 8/4/2021 4:47 PM 2021CH03824




                                           acquired to occupy as a personal residence.

                                                  28.     Upon paying the purchase price and accepting title to her condominium, Plaintiff

                                           became bound by the declaration of covenants, conditions, and restrictions of the Association,

                                           which required the payment of regular and special assessments imposed by the Association. See

                                           765 ILCS 605/9.

                                                  29.     Plaintiff’s obligation to pay assessments arose upon the purchase of her

                                           condominium, even though the timing and amount of particular assessments was yet to be

                                           determined. Cf. In re Rosteck, 899 F.2d 694, 696 (7th Cir. 1990) (obligation to pay condominium

                                           assessments arose upon purchase).

                                                  30.     Beginning in 2020 and continuing through June of 2021, Plaintiff was billed for

                                           monthly assessments by the Association.

                                                  31.     Because of confusion brought on by the COVID-19 pandemic and the

                                           Association’s change in its management company, Plaintiff did not actually receive monthly

                                           statements of her account balance and fell behind on payment of the amounts billed by the

                                           Association.

                                                  32.     In September 2020, Tressler, on behalf of the Association, caused a Notice and

                                           Demand for Possession to be sent to Plaintiff. A copy of this correspondence is attached as

                                           Exhibit 1.

                                                  33.     Rather than mailing the letter (Exhibit 1) itself, Tressler uploaded the letter to a

                                           web site portal maintained by ARL (ReadyCOLLECT) and used by clients such as Tressler in

                                           connection with the collection of delinquent assessments.



                                                                                           6
                                               Case: 1:21-cv-04818 Document #: 3 Filed: 09/10/21 Page 34 of 63 PageID #:39




                                                   34.    On information and belief, details regarding the debt allegedly owed by Plaintiff

                                           to the Association was commingled in a database of information that ARL maintains on behalf of
FILED DATE: 8/4/2021 4:47 PM 2021CH03824




                                           hundreds of other clients using its ReadyCOLLECT portal. ARL does not maintain a separate

                                           database server for each client.

                                                   35.    The letter (Exhibit 1) was then uploaded by ARL to a mail vendor, SouthData,

                                           located in North Carolina.

                                                   36.    These facts are evidenced by the Certificate of Mailing (attached to Tessler’s

                                           Notice and Demand for Possession) on page 2 of Exhibit 1, which is excerpted and reproduced

                                           here:




                                                   37.    By uploading the the letter (Exhibit 1) to the ARL’s ReadyCOLLECT portal,

                                           Tressler communicated to ARL and its employees Plaintiff’s status as a debtor, the fact that

                                           Plaintiff allegedly owed and was delinquent in the payment of assessments on her condominium,

                                           that she had allegedly incurred late fees and attorneys’ fees, and the fact that her Association

                                           stated that it may seek to terminate her possession of her home.

                                                   38.    Thereafter, ARL transmitted the same information to its mail vendor, SouthData -

                                           communicating Plaintiff’s status as a debtor, the fact that Plaintiff allegedly owed and was

                                           delinquent in the payment of assessments on her condominium, that she had allegedly incurred




                                                                                           7
                                               Case: 1:21-cv-04818 Document #: 3 Filed: 09/10/21 Page 35 of 63 PageID #:40




                                           late fees and attorneys’ fees, and the fact that her Association stated that it may seek to terminate

                                           her possession of her home.
FILED DATE: 8/4/2021 4:47 PM 2021CH03824




                                                   39.      The information about the debt allegedly owed by Plaintiff that was

                                           communicated to others without authorization by Tressler and ARL was non-public, highly

                                           personal and sensitive, and otherwise of a nature that Plaintiff or any person would find

                                           disclosure to others to be intrusive and highly embarrassing.

                                                   40.      Plaintiff did not consent to the disclosure of the information contained in Exhibit

                                           1 to anyone by anyone.

                                                   41.      The FDCPA defines “communication” at 15 U.S.C. § 1692a(3) as “the conveying

                                           of information regarding a debt directly or indirectly to any person through any medium.”

                                                   42.      When Tressler uploaded Exhibit 1 to ARL’s ReadyCOLLECT portal, Tressler

                                           communicated with a third-party regarding the Plaintiff’s alleged debt to the Association. To be

                                           clear, ARL is not merely a mailing vendor in the employ of Tressler; in fact, SouthData fulfilled

                                           the mail role.

                                                   43.      ARL is not the Plaintiff, a consumer, or her attorney. ARL is also not a consumer

                                           reporting agency, the creditor, the attorney of the creditor, or the attorney of the debt collector.

                                                   44.      When ARL transmitted Exhibit 1 to its mail vendor, SouthData, ARL

                                           communicated with a third-party regarding the Plaintiff’s alleged debt to the Association.

                                                   45.      SouthData is not the Plaintiff, a consumer, or her attorney. SouthData is also not

                                           a consumer reporting agency, the creditor, the attorney of the creditor, or the attorney of the debt

                                           collector.

                                                   46.      In limiting disclosures to third parties, the FDCPA states:

                                                         “Except as provided in section 1692b of this title, without the prior
                                                         consent of the consumer given directly to the debt collector, or the

                                                                                              8
                                               Case: 1:21-cv-04818 Document #: 3 Filed: 09/10/21 Page 36 of 63 PageID #:41




                                                        express permission of a court of competent jurisdiction, or as reasonably
                                                        necessary to effectuate a post judgment judicial remedy, a debt collector
FILED DATE: 8/4/2021 4:47 PM 2021CH03824




                                                        may not communicate, in connection with the collection of any debt, with
                                                        any person other than the consumer, his attorney, a consumer reporting
                                                        agency if otherwise permitted by law, the creditor, the attorney of the
                                                        creditor, or the attorney of the debt collector.” (emphasis added).

                                           15 U.S.C. § 1692c(b).

                                                  47.       Section 1692c(b) applies to all communications that, in any way, “concern[]” or

                                           are “with reference to” a debt, and prohibits such communications to all third parties, minus only

                                           six enumerated exceptions.

                                                  48.      Tressler’s use of ARL’s ReadyCOLLECT portal and ARL’s use of an outside,

                                           third-party mail vendor, were undertaken in connection with collection of the assessment debt

                                           allegedly due to the Association by Plaintiff and that conduct does not fall within any permitted

                                           exception provided for in 15 U.S.C. § 1692c(b). Indeed, the information which was

                                           communicated by Tressler and ARL did not just concern Plaintiff’s alleged debt, it disclosed

                                           Plaintiff’s status as a debtor, the fact that Plaintiff allegedly owed and was delinquent in the

                                           payment of assessments on her condominium, that she had allegedly incurred late fees and

                                           attorneys fees, and the fact that her Association stated that it may seek to terminate her

                                           possession of her home. It is clear that the information was communicated “for the purpose of

                                           collecting a debt” and clearly contained a demand for payment. 15 U.S.C. § 1692e.

                                                  49.      As a direct result of Tressler’s conduct, information regarding a debt allegedly

                                           owed by Plaintiff was improperly conveyed to ARL, and its many employees.

                                                  50.      As a direct result of ARL’s conduct, information regarding a debt allegedly owed

                                           by Plaintiff was improperly conveyed to SouthData, and its many employees.




                                                                                            9
                                                Case: 1:21-cv-04818 Document #: 3 Filed: 09/10/21 Page 37 of 63 PageID #:42




                                                   51.     Upon learning of the improper disclosures, Plaintiff was embarrassed, humiliated

                                           and suffered great anxiety which manifested in the form of headache, sleeplessness, and stress
FILED DATE: 8/4/2021 4:47 PM 2021CH03824




                                           related physical exhaustion.

                                                   52.     Given widely circulated reports of recurrent database hacking, Plaintiff

                                           reasonably feared that the information about her alleged debt would be widely disclosed to

                                           others, possibly affecting her relationships with family, friends and employers and otherwise

                                           portraying her in a false light.

                                                   53.     When a debt collector “conveys information regarding the debt to a third party -

                                           informs the third party that the debt exists or provides information about the details of the debt -

                                           then the debtor may well be harmed by the spread of this information.” Brown v. Van Ru Credit

                                           Corp., 804 F.3d 740, 743 (6th Cir. 2015). “[A] violation of § 1692c(b) gives rise to a concrete

                                           injury in fact under Article III [of the U.S. Constitution].” Hunstein v. Preferred Collection &

                                           Management Services, 994 F.3d 1341 (11th Cir. 2021).

                                                   54.     Indeed, Plaintiff was placed at great risk of imminent tangible injury, specifically

                                           data exploitation and compromise. Data such as that disclosed by Tressler to ARL and in turn by

                                           ARL to its mail vendor resides in computer databases which are now frequently hacked by

                                           malicious parties seeking to use such non-public information to their advantage and to the

                                           detriment of consumers like Plaintiff. Consumer data obtained from one source can be

                                           aggregated with information from other sources to allow nefarious actors to exploit a consumer’s

                                           information and otherwise intrude upon her right to privacy and seclusion.

                                                   55.     Tressler acknowledges on its own web site that it uses ARL’s ReadyCOLLECT to

                                           “consolidate … assessment collections.”

                                                                                COUNT I: TRESSLER



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                                               Case: 1:21-cv-04818 Document #: 3 Filed: 09/10/21 Page 38 of 63 PageID #:43




                                                            [Fair Debt Collection Practices Act—15 U.S.C. § 1692 et seq]

                                                  56.     Plaintiff restates and incorporates by reference paragraphs 1 through 55.
FILED DATE: 8/4/2021 4:47 PM 2021CH03824




                                                  57.     Plaintiff brings this action pursuant to 735 ILCS 5/2-801, individually, and on

                                           behalf of all others similarly situated (“Tressler Putative Class”).

                                                  58.     Tressler violated 15 U.S.C. § 1692c(b) when it disclosed information about

                                           alleged debt owed by Plaintiff and the Tressler Putative Class to ARL and its employees.

                                                  59.     Tressler’s communication to others of the details of the debt allegedly owed by

                                           Plaintiff and members of the Tressler Putative Class constitutes an invasion of privacy, a harm

                                           which Congress found to be an animating purpose for enactment of the FDCPA.

                                                  60.     Tressler violated 15 U.S.C. § 1692f by using unfair means in connection with the

                                           collection of a debt, to wit, knowingly disclosing sensitive non-public information about an

                                           alleged debt owed Plaintiff and the Tressler Putative Class to third parties when not authorized to

                                           disclose that information to any third-party.

                                                  61.     Tressler engaged in the conduct described infra with purpose, namely, to

                                           streamline and automate its collection activities and to gain a competitive advantage over other

                                           debt collectors who complied with the FDCPA, and not as a result of bona fide error.

                                                  62.     Pursuant to 15 U.S.C. § 1692k, Plaintiff and the Tressler Putative Class are

                                           entitled to actual damages, statutory damages, attorneys’ fees and costs.

                                                                               CLASS ALLEGATIONS

                                                  63.     The Tressler Putative Class is defined as follows: (a) all individuals (b) who were

                                           alleged to be obligated for a consumer debt (c) who had information regarding the debt (either

                                           that the debt exists or the details of that debt), conveyed by Tressler to a third party without the

                                           consumer’s express consent within one year of the filing of this action.



                                                                                            11
                                                Case: 1:21-cv-04818 Document #: 3 Filed: 09/10/21 Page 39 of 63 PageID #:44




                                                   64.     The following individuals are excluded from the Putative Class: (1) any Judge

                                           presiding over this action and members of their families; (2) Tressler, Tressler’s subsidiaries,
FILED DATE: 8/4/2021 4:47 PM 2021CH03824




                                           parents, successors, predecessors, and any entity in which Tressler or their parents have a

                                           controlling interest and their current or former employees, officers and directors; (3) Plaintiff’s

                                           attorneys; (4) persons who properly execute and file a timely request for exclusion from the

                                           Tressler Putative Class; (5) the legal representatives, successors or assigns of any such executed

                                           persons; and (6) persons whose claims against Tressler have been fully and finally adjudicated

                                           and/or released.

                                                   Numerosity

                                                   65.     Upon information and belief, Tressler conveyed consumer debt information like

                                           that contained in the Notice and Demand for Possession to a third party no less than 40 times

                                           without the consent of the consumer.

                                                   66.     The exact number of members of the Tressler Putative Class are unknown and not

                                           available to Plaintiff at this time, but it is clear that individual joinder is impracticable.

                                                   67.     Members of the Tressler Putative Class can be objectively identified from records

                                           of Tressler to be gained in discovery.

                                           Commonality and Predominance

                                                   68.     There are many questions of law and fact common to the claims of Plaintiff and

                                           the Tressler Putative Class, and those questions predominate over any questions that may affect

                                           individual members of the Tressler Putative Class. Those common questions include: whether

                                           the conveying information regarding the alleged consumer debt allegedly owed by Plaintiff and

                                           class members violated the FDCPA.

                                                   Typicality



                                                                                              12
                                               Case: 1:21-cv-04818 Document #: 3 Filed: 09/10/21 Page 40 of 63 PageID #:45




                                                  69.        Plaintiff’s claims are representative of the claims of other members of the Tressler

                                           Putative Class.
FILED DATE: 8/4/2021 4:47 PM 2021CH03824




                                                  70.        Plaintiff’s claims are typical of members of the Tressler Putative Class because

                                           Plaintiff and members of the Tressler Putative Class are entitled to statutory damages as result of

                                           Tressler’s conduct.

                                                  Superiority and Manageability

                                                  71.        This case is also appropriate for class certification as class proceedings are

                                           superior to all other available methods for the efficient and fair adjudication of this controversy.

                                                  72.        The actual damages suffered by the individual members of the Tressler Putative

                                           Class will likely be relatively small, if any, and would not be worth pursuing on an individual

                                           basis especially given the burden and expense required for individual prosecution.

                                                  73.        By contrast, a class action provides the benefits of single adjudication, economies

                                           of scale, and comprehensive supervision by a single court.

                                                  74.        Economies of effort, expense, and time will be fostered and uniformity of

                                           decisions ensured.

                                                  Adequate Representation

                                                  75.        Plaintiff will adequately and fairly represent and protect the interests of the

                                           Tressler Putative Class.

                                                  76.        Plaintiff has no interests antagonistic to those of the Tressler Putative Class, and

                                           Tressler has no defenses unique to Plaintiff.

                                                  77.        Plaintiff has retained competent and experienced counsel with substantial

                                           experience in consumer law.




                                                                                              13
                                               Case: 1:21-cv-04818 Document #: 3 Filed: 09/10/21 Page 41 of 63 PageID #:46




                                                  WHEREFORE, Plaintiff prays for the entry of judgment in favor of herself and the

                                           Tressler Putative Class and against Tressler for:
FILED DATE: 8/4/2021 4:47 PM 2021CH03824




                                                  a.      A finding that the conduct of Tressler as alleged herein is unlawful and violates

                                           the FDCPA and certifying a class as describes infra;

                                                  b.      Awarding Plaintiff and the class statutory damages of $1,000 each pursuant to 15

                                           U.S.C. § 1692k(a)(2)(A);

                                                  c.      Awarding Plaintiff and the class actual damages, in an amount to be proven up at

                                           a later date, pursuant to 15 U.S.C. § 1692k(a)(1);

                                                  d.      Awarding Plaintiff and the class costs and reasonable attorney fees as provided

                                           under 15 U.S.C. §1692k(a)(3); and

                                                  e.      Awarding any other relief as this Court deems just and appropriate.


                                                                                   COUNT II: ARL

                                                           [Fair Debt Collection Practices Act—15 U.S.C. § 1692 et seq]

                                                  78.     Plaintiff restates and incorporates by reference paragraphs 1 through 55.

                                                  79.     Plaintiff brings this action pursuant to 735 ILCS 5/2-801, individually, and on

                                           behalf of all others similarly situated (“ARL Putative Class”).

                                                  80.     ARL violated 15 U.S.C. § 1692c(b) when it disclosed information about the debt

                                           allegedly owed by Plaintiff and the ARL Putative Class.

                                                  81.     ARL violated 15 U.S.C. § 1692f by using unfair means in connection with the

                                           collection of a debt, to wit, knowingly disclosing sensitive non-public information about an

                                           alleged debt owed by Plaintiff and the ARL Putative Class to third parties when not authorized to

                                           disclose that information to any third-party.




                                                                                           14
                                               Case: 1:21-cv-04818 Document #: 3 Filed: 09/10/21 Page 42 of 63 PageID #:47




                                                  82.     ARL’s communication to others of the details of the debt allegedly owed by

                                           Plaintiff and members of the ARL Putative Class constitutes an invasion of privacy., a harm
FILED DATE: 8/4/2021 4:47 PM 2021CH03824




                                           which Congress found to be an animating purpose for enactment of the FDCPA.

                                                  83.     ARL engaged in the conduct described infra with purpose, namely to streamline

                                           and automate its collection activities and to gain a competitive advantage over other debt

                                           collectors who complied with the FDCPA, and not as a result of bona fide error.

                                                  84.     Pursuant to 15 U.S.C. § 1692k, Plaintiff and the ARL Putative Class are entitled

                                           to actual damages, statutory damages, attorneys’ fees and costs.

                                                                              CLASS ALLEGATIONS

                                                  85.     The ARL Putative Class is defined as follows: (a) all individuals (b) who were

                                           alleged to be obligated for a consumer debt (c) who had information regarding the debt (either

                                           that the debt exists or the details of that debt), conveyed by ARL to a third party without the

                                           consumer’s express consent within one year of the filing of this action.

                                                  86.     The following individuals are excluded from the Putative Class: (1) any Judge

                                           presiding over this action and members of their families; (2) ARL, ARL’s subsidiaries, parents,

                                           successors, predecessors, and any entity in which ARL or their parents have a controlling interest

                                           and their current or former employees, officers and directors; (3) Plaintiff’s attorneys; (4)

                                           persons who properly execute and file a timely request for exclusion from the ARL Putative

                                           Class; (5) the legal representatives, successors or assigns of any such executed persons; and (6)

                                           persons whose claims against ARL have been fully and finally adjudicated and/or release.

                                                  Numerosity




                                                                                           15
                                                Case: 1:21-cv-04818 Document #: 3 Filed: 09/10/21 Page 43 of 63 PageID #:48




                                                   87.       Upon information and belief, ARL conveyed consumer debt information like that

                                           contained in the Notice and Demand for Possession to a third party no less than 40 times without
FILED DATE: 8/4/2021 4:47 PM 2021CH03824




                                           the consent of the consumer.

                                                   88.       The exact number of members of the ARL Putative Class are unknown and not

                                           available to Plaintiff at this time, but it is clear that individual joinder is impracticable.

                                                   89.       Members of the ARL Putative Class can be objectively identified from records of

                                           Tressler to be gained in discovery.

                                                   Commonality and Predominance

                                                   90.       There are many questions of law and fact common to the claims of Plaintiff and

                                           the ARL Putative Class, and those questions predominate over any questions that may affect

                                           individual members of the ARL Putative Class. Those common questions include: whether the

                                           conveying information regarding the alleged consumer debt allegedly owed by Plaintiff and class

                                           members violated the FDCPA.

                                                   Typicality

                                                   91.       Plaintiff’s claims are representative of the claims of other members of the ARL

                                           Putative Class.

                                                   92.       Plaintiff’s claims are typical of members of the ARL Putative Class because

                                           Plaintiff and members of the ARL Putative Class are entitled to statutory damages as result of

                                           AR:’s conduct.

                                                   Superiority and Manageability

                                                   93.       This case is also appropriate for class certification as class proceedings are

                                           superior to all other available methods for the efficient and fair adjudication of this controversy.




                                                                                              16
                                               Case: 1:21-cv-04818 Document #: 3 Filed: 09/10/21 Page 44 of 63 PageID #:49




                                                  94.        The actual damages suffered by the individual members of the ARL Putative

                                           Class will likely be relatively small, if any, and would not be worth pursuing on an individual
FILED DATE: 8/4/2021 4:47 PM 2021CH03824




                                           basis especially given the burden and expense required for individual prosecution.

                                                  95.        By contrast, a class action provides the benefits of single adjudication, economies

                                           of scale, and comprehensive supervision by a single court.

                                                  96.        Economies of effort, expense, and time will be fostered and uniformity of

                                           decisions ensured.

                                                  Adequate Representation

                                                  97.        Plaintiff will adequately and fairly represent and protect the interests of the ARL

                                           Putative Class.

                                                  98.        Plaintiff has no interests antagonistic to those of the ARL Putative Class, and

                                           Tressler has no defenses unique to Plaintiff.

                                                  99.        Plaintiff has retained competent and experienced counsel with substantial

                                           experience in consumer law.

                                                  WHEREFORE, Plaintiff prays for the entry of judgment in favor of herself and the ARL

                                           Putative Class and against ARL for:

                                                  a.         A finding that the conduct of ARL as alleged herein is unlawful and violates the

                                           FDCPA and certifying a class as describes infra;

                                                  b.         Awarding Plaintiff and the class statutory damages of $1,000 each pursuant to 15

                                           U.S.C. § 1692k(a)(2)(A);

                                                  c.         Awarding Plaintiff and the class actual damages, in an amount to be proven up at

                                           a later date, pursuant to 15 U.S.C. § 1692k(a)(1);




                                                                                             17
                                               Case: 1:21-cv-04818 Document #: 3 Filed: 09/10/21 Page 45 of 63 PageID #:50




                                                  d.      Awarding Plaintiff and the class costs and reasonable attorney fees as provided

                                           under 15 U.S.C. §1692k(a)(3); and
FILED DATE: 8/4/2021 4:47 PM 2021CH03824




                                                  e.      Awarding any other relief as this Court deems just and appropriate




                                                                      DOCUMENT PRESERVATION DEMAND

                                                  Plaintiff hereby demands that all Defendants take affirmative steps to preserve all

                                           recordings, data, documents, and all other tangible things that relate to Plaintiff, the events

                                           described herein, any third party associated with any telephone call, campaign, account, sale or

                                           file associated with Plaintiff, and any account or number or symbol relating to them. These

                                           materials are likely very relevant to the litigation of Plaintiff’s claims. If any Defendant is aware

                                           of any third party that has possession, custody, or control of any such materials, Plaintiff

                                           demands that such Defendant request that such third party also take steps to preserve the

                                           materials. This demand shall not narrow the scope of any independent document preservation

                                           duties of any Defendant.

                                           DATED: August 4, 2021                             Respectfully submitted,

                                                                                             MONICA K. SHERESHOVECH

                                                                                             /s/ Arthur Czaja
                                                                                             Arthur Czaja
                                                                                             LAW OFFICE OF ARTHUR CZAJA
                                                                                             7521 N. Milwaukee Ave.
                                                                                             Niles, Illinois 60714
                                                                                             (847) 647-2106
                                                                                             arthur@czajalawoffices.com
                                                                                             Attorney No. 47671

                                                                                             Brian Wanca

                                                                                            18
                                           Case: 1:21-cv-04818 Document #: 3 Filed: 09/10/21 Page 46 of 63 PageID #:51




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FILED DATE: 8/4/2021 4:47 PM 2021CH03824




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                                                                                jdavidson@fightbills.com
                                                                                Attorney No: 65455

                                                                                Counsel for Plaintiff and the Putative Class
                                                                                Members




                                                                               19
                                                 Case: 1:21-cv-04818 Document #: 3 Filed: 09/10/21 Page 47 of 63 PageID #:52




                                                              IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                                                                  COUNTY DEPARTMENT, CHANCERY DIVISION
FILED DATE: 8/4/2021 4:47 PM 2021CH03824




                                           MONICA K. SHERESHOVECH,
                                           individually, and on behalf of all persons
                                           similarly situated,

                                                Plaintiffs,                                   Case No.

                                           v.

                                           TRESSLER LLP, a limited liability
                                           partnership, and

                                           ASSOCIATIONREADY, LLC, d/b/a
                                           “ReadyCOLLECT,”

                                                Defendants.

                                                    AFFIDAVIT PURSUANT TO ILLINOIS SUPREME COURT RULE 222(b)

                                                    Pursuant to Illinois Supreme Court Rule 222(b), counsel for the above-named Plaintiff

                                           certifies that Plaintiff is seeking money damages in excess of Fifty Thousand and 00/100 Dollars

                                           ($50,000.00).

                                           DATED: August 4, 2021                          Respectfully submitted,

                                                                                          By: /s/ Arthur C. Czaja


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                                               Case: 1:21-cv-04818 Document #: 3 Filed: 09/10/21 Page 48 of 63 PageID #:53




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FILED DATE: 8/4/2021 4:47 PM 2021CH03824




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                                           Case: 1:21-cv-04818 Document #: 3 Filed: 09/10/21 Page 49 of 63 PageID #:54
FILED DATE: 8/4/2021 4:47 PM 2021CH03824




                                                           EXHIBIT 1
                                           Case: 1:21-cv-04818 Document #: 3 Filed: 09/10/21 Page 50 of 63 PageID #:55
FILED DATE: 8/4/2021 4:47 PM 2021CH03824
                                           Case: 1:21-cv-04818 Document #: 3 Filed: 09/10/21 Page 51 of 63 PageID #:56
FILED DATE: 8/4/2021 4:47 PM 2021CH03824
Case: 1:21-cv-04818 Document #: 3 Filed: 09/10/21 Page 52 of 63 PageID #:57




                          EXHIBIT B
Case: 1:21-cv-04818 Document #: 3 Filed: 09/10/21 Page 53 of 63 PageID #:58
Case: 1:21-cv-04818 Document #: 3 Filed: 09/10/21 Page 54 of 63 PageID #:59




                          EXHIBIT C
     Case: 1:21-cv-04818
           1:21-cv-03389 Document #: 3
                                     23Filed:
                                        Filed:09/10/21
                                               08/20/21Page
                                                        Page55
                                                             1 of 63
                                                                  5 PageID
                                                                     PageID#:102
                                                                            #:60



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

PATRICK KELLER and NITISH LAL,                   )
                                                 )
                        Plaintiffs,              )        Case No. 21-cv-3389
                                                 )
                v.                               )        Judge Sharon Johnson Coleman
                                                 )
NORTHSTAR LOCATION SERVICES,                     )
                                                 )
                        Defendant.               )

                           MEMORANDUM OPINION AND ORDER

        Plaintiffs Patrick Keller and Nitish Lal brought this lawsuit under the Fair Debt Collection

Practices Act (“FDCPA”), 15 U.S.C. §§ 1692c(b), against defendant collection agency Northstar

Location Services (“Northstar”) in the Circuit Court of Cook County, Chancery Division, after

which Northstar removed this lawsuit to federal court. Before the Court is plaintiffs’ motion to

remand under 28 U.S.C. § 1447(c) based on the Court’s lack of subject matter jurisdiction,

specifically Article III standing. For the following reasons, the Court denies plaintiffs’ motion.

Background

        In their complaint, plaintiffs allege that Northstar used a third-party letter vendor to prepare

their collection letters. Plaintiffs assert that to have the letter vendor send letters, Northstar

provided the vendors with their names and addresses, their status as debtors, their alleged debts, and

other personal information. By doing so, plaintiffs maintain that Northstar violated § 1692c(b)

when it disclosed information about their debt to the employees of the unauthorized third-party

vendors. In bringing this claim, plaintiffs seek statutory damages, attorney’s fees and costs, and such

other and further relief as the Court deems proper. They do not seek actual damages.

Discussion

        In their motion to remand, plaintiffs argue that the Court does not have subject matter
     Case: 1:21-cv-04818
           1:21-cv-03389 Document #: 3
                                     23Filed:
                                        Filed:09/10/21
                                               08/20/21Page
                                                        Page56
                                                             2 of 63
                                                                  5 PageID
                                                                     PageID#:103
                                                                            #:61



jurisdiction over his lawsuit based on the lack of Article III standing. As the proponent of subject

matter jurisdiction, to establish Article III standing Northstar must show: (1) plaintiffs suffered an

actual or imminent, concrete and particularized injury-in-fact; (2) a causal connection between the

injury and the challenged conduct; and (3) the likelihood the injury will be redressed by a favorable

decision. Prairie Rivers Network v. Dynegy Midwest Generation, LLC, 2 F.4th 1002, 1007 (7th Cir. 2021).

The parties focus on the injury-in-fact component, which requires that the harm be “concrete and

particularized” and “actual or imminent.” Prosser v. Becerra, 2 F.4th 708, 713 (7th Cir. 2021). As for

the consumer protection statutes, “Congress’s creation of a statutory prohibition or obligation and a

cause of action does not relieve courts of their responsibility to independently decide whether a

plaintiff has suffered a concrete harm under Article III.” TransUnion LLC v. Ramirez, 141 S.Ct. 2190,

2205 (2021).

        Here, plaintiffs argue that based on a series of recent Seventh Circuit cases regarding Article

III standing in the context of FDCPA claims, Northstar cannot establish that they suffered a

concrete harm, therefore, this lawsuit belongs in state court. See Protect Our Parks, Inc. v. Chicago Park

Dist., 971 F.3d 722, 731 (7th Cir. 2020) (“Article III does not apply to the states, so ‘state courts are

not bound by the limitations of a case or controversy or other federal rules of justiciability.’”)

(citation omitted). The precise question at issue is whether plaintiffs have alleged an intangible

injury that is concrete under their mailing vendor theory of liability. Smith v. GC Services Limited

P’ship, 986 F.3d 708, 711 (7th Cir. 2021) (“Standing often depends on what theory a plaintiff

advances and how injury would be proved.”). The Seventh Circuit cases plaintiffs cite do not

discuss the relevant statute § 1692c(b) nor has the Seventh Circuit addressed their mailing vendor

theory. Nevertheless, the Seventh Circuit recently stated that “an FDCPA violation might cause

harm if it leads a plaintiff to pay extra money, affects a plaintiff’s credit, or otherwise alters a




                                                      2
     Case: 1:21-cv-04818
           1:21-cv-03389 Document #: 3
                                     23Filed:
                                        Filed:09/10/21
                                               08/20/21Page
                                                        Page57
                                                             3 of 63
                                                                  5 PageID
                                                                     PageID#:104
                                                                            #:62



plaintiff’s response to a debt.” Markakos v. Medicredit, Inc., 997 F.3d 778, 780 (7th Cir. 2021). There

are no such allegations in plaintiffs’ complaint.

        The Court thus turns to Northstar’s argument that plaintiffs have alleged an intangible, yet

concrete harm because their allegations reflect that they suffered an invasion of their privacy. To

address this argument, the Court looks to both history and the judgment of Congress. Gadelhak v.

AT&T Servs., Inc., 950 F.3d 458, 462 (7th Cir. 2020) (Barrett, J.) (citing Spokeo, Inc. v. Robins, 136 S.

Ct. 1540, 1549 (2016)). The historical inquiry asks, “whether the asserted harm has a ‘close

relationship’ to a harm traditionally recognized as providing a basis for a lawsuit in American

courts—such as physical harm, monetary harm, or various intangible harms.” TransUnion, 141 S.Ct.

at 2200. As the TransUnion Court clarified, “[v]arious intangible harms can also be concrete”

including “reputational harms, disclosure of private information, and intrusion upon seclusion.” Id.

at 2204. Under Congress’s judgment, “[c]ourts must afford due respect to Congress’s decision to

impose a statutory prohibition or obligation on a defendant, and to grant a plaintiff a cause of action

to sue over the defendant’s violation of that statutory prohibition or obligation.” Id.

        With this standard in mind, the Court turns to an Eleventh Circuit opinion where that court

concluded violations of § 1692c(b) have a close relationship to the harm resulting from the common

law tort of invasion of privacy, specifically the public disclosure of private facts. Hunstein v. Preferred

Collection & Mgmt. Serv., Inc., 994 F.3d 1341, 1347 (11th Cir. 2021); see also United States Dep’t of Justice v.

Reporters Comm. for Freedom of the Press, 489 U.S. 749, 763, 109 S.Ct. 1468, 103 L.Ed.2d 774 (1989)

(“[B]oth the common law and the literal understandings of privacy encompass the individual’s

control of information concerning his or her person.”). The Hunstein decision also concluded that

invasion of privacy is one of the harms against which the FDCPA is directed. Id.; see also 15 U.S.C. §

1692(a) (“There is abundant evidence of the use of abusive, deceptive, and unfair debt collection

practices by many debt collectors. Abusive debt collection practices contribute to the number of


                                                       3
     Case: 1:21-cv-04818
           1:21-cv-03389 Document #: 3
                                     23Filed:
                                        Filed:09/10/21
                                               08/20/21Page
                                                        Page58
                                                             4 of 63
                                                                  5 PageID
                                                                     PageID#:105
                                                                            #:63



personal bankruptcies, to marital instability, to the loss of jobs, and to invasions of individual

privacy.”); S.REP. 95-382, at 4, reprinted in 1977 U.S.C.C.A.N. 1695, 1699 (“Other than to obtain

location information, a debt collector may not contact third persons such as a consumer’s friends,

neighbors, relatives, or employer. Such contacts are not legitimate collection practices and result in

serious invasions of privacy, as well as the loss of jobs.”). The Hunstein decision thus held that a

violation of § 1692c(b) gives rise to a concrete injury-in-fact for Article III standing and that a debt

collector’s transmittal of a consumer’s personal information to a third-party vendor constitutes a

communication “in connection with the collection of any debt” under § 1692c(b). Id. at 1348-49.

        The Eleventh Circuit’s reasoning finds support in the Supreme Court’s recent TransUnion

decision where the Court recognized that various intangible harms can be concrete for purposes of

Article III standing, such as reputational harms, disclosure of private information, and intrusion

upon seclusion. Id. at 2204. Hunstein is also supported by the Seventh Circuit’s decision in Gadelhak,

in which the court concluded that that common law has long recognized actions against defendants

who invade privacy rights, in that case, intrusion upon seclusion. Id. at 462. Other Seventh Circuit

precedent confirms that plaintiffs have asserted a concrete harm in the context of the invasion of

privacy rights. See Fox v. Dakkota Integrated Sys., LLC, 980 F.3d 1146, 1149 (7th Cir. 2020) (“The

invasion of a legally protected privacy right, though intangible, is personal and real, not general and

abstract.”).

        Accordingly, the Court concludes that because plaintiffs have alleged concrete, albeit

intangible harms resulting from Northstar’s actions, there is Article III standing for this case to

remain in federal court. 1 The Court therefore denies plaintiffs’ motion.




1Plaintiffs did not address Northstar’s arguments that they had Article III standing based on an intangible,
yet concrete harm in relation to the invasion of their privacy.

                                                       4
    Case: 1:21-cv-04818
          1:21-cv-03389 Document #: 3
                                    23Filed:
                                       Filed:09/10/21
                                              08/20/21Page
                                                       Page59
                                                            5 of 63
                                                                 5 PageID
                                                                    PageID#:106
                                                                           #:64



Conclusion

      Based on the foregoing, the Court denies plaintiffs’ motion to remand [11].

IT IS SO ORDERED.

Date: 8/20/2021

                                            Entered: _____________________________
                                                     SHARON JOHNSON COLEMAN
                                                     United States District Judge




                                               5
Case: 1:21-cv-04818 Document #: 3 Filed: 09/10/21 Page 60 of 63 PageID #:65




                          EXHIBIT D
      Case: 1:21-cv-04818 Document #: 3 Filed: 09/10/21 Page 61 of 63 PageID #:66




                 IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                     COUNTY DEPARTMENT, CHANCERY DIVISION

 MONICA K. SHERESHOVECH,
 individually, and on behalf of all persons
 similarly situated,

         Plaintiffs,                                 Case No. 2021CH03824

 v.

 TRESSLER LLP, a limited liability
 partnership, and

 ASSOCIATIONREADY, LLC d/b/a
 “ReadyCOLLECT,”

         Defendants.


TO THE CLERK OF THE ABOVE-ENTITLED COURT:

        PLEASE TAKE NOTICE THAT today, September 10, 2021, Defendant

AssociationReady, LLC (“ARL”) filed in the United States District Court for the Northern

District of Illinois a Notice of Removal of this action to said United States District Court, and

that a copy of the Notice of Removal is attached hereto and hereby filed in this Court.


        PLEASE TAKE FURTHER NOTICE THAT, pursuant to 28 U.S.C. 1446(d), the filing

of the Notice of Removal in the United States District Court, together with the filing of a copy of

the Notice of Removal with this Court, effects the removal of this action and suspends the

jurisdiction of this Court.


Dated: September 10, 2021                                            AssociationReady, LLC

                                                                     By: ____________________

                                                                     Attorneys for
                                                                     AssociationReady, LLC
                                                 1
    Case: 1:21-cv-04818 Document #: 3 Filed: 09/10/21 Page 62 of 63 PageID #:67




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    Case: 1:21-cv-04818 Document #: 3 Filed: 09/10/21 Page 63 of 63 PageID #:68




                               CERTIFICATE OF SERVICE

       Martin Martos, an attorney, hereby certifies on September 10, 2021, he caused a copy of

the foregoing Notice of Removal to be served via email and U.S. mail on the following:


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